Case 2:04-cv-02788-BBD-dkv Document 4 Filed 05/31/05 Page 1 of 2 Page|D 20

  

H\.'r-;D n'_, / __ _\,_._\;).c=
UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TENNESSEE.`{ 3\ PM 3= 15

 

WESTERN DIVISION ;M,_ _ ;m.i@
CLEF‘§M, 1315'1'. CT.
W o oVTN.MEAWMS
LATISHA JONES JUDGMENT IN A C:l:vIL CASE
v-
STATE oF TENN'ESSEE, et al. CASE No= 04-2788-D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED.AND ADJUDGED that in accordance with the Order of
Dismissal entered on May 20, 2005, this cause is hereby dismissed.

APPROVED :

    

 

   

 

 

RNICE B. NA.LD
UNITED STATES DISTR-.ET COURT ` ROBERTR.D‘THOHO
‘/A?¢,A,!;’/ @?M¢
Daté 57 / Clerk of Court
(By) Depu erk

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This document entered on the docket §h€§ fn .` _jw‘ //’\

With Ru|e 58 and/or 79(&1) FRCP on

 

 

 

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Latisha J ones

SHELBY COUNTY JAIL
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i\/lemphis7 TN 38134

Honcrable Bernice Donald
US DISTRICT COURT

